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				CASH v. STATE2024 OK CR 17Case Number: RE-2022-638Decided: 06/28/2024STEVEN JAMES CASH, Appellant v. THE STATE OF OKLAHOMA, Appellee

Cite as: 2024 OK CR 17, __  __

				

CORRECTION ORDER
¶1 On January 25, 2024, this Court issued a summary opinion in Case No. RE-2022-638 affirming the revocation of Appellant's suspended sentence in Cleveland County District Court Case No. CF-2014-1824. See Cash v. State, 2024 OK CR 1, 543 P.3d 687. Paragraph 15 of that summary opinion erroneously states "declarant" but should state "defendant."
¶2 Paragraph 15 of this Court's January 25, 2024, summary opinion in Case No. RE-2022-638 is CORRECTED to reflect "defendant."
¶3 IT IS SO ORDERED.
¶4 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 28th day of June, 2024.
&nbsp;

/S/SCOTT ROWLAND, Presiding Judge
/S/WILLIAM J. MUSSEMAN, Vice Presiding Judge
/S/GARY L. LUMPKIN, Judge
/S/DAVID B. LEWIS, Judge
/S/ROBERT L. HUDSON, Judge
&nbsp;
ATTEST:
/s/John D. HaddenClerk




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2024 OK CR 1, 543 P.3d 687, 
CASH v. STATE
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